 

LEON VALLEY POLICE DEPARTMENT incident #201804036

 

 

 

DOB: a ArrestAge: 47 Home Phone: (740)975-4639 Work Phone:

Juvenile: N Current Age: 47 Mobile Phone: Caution:
DL#: =_—o| DL State: OH DL Type: Employer: Occupation:
Arrest Location: 6400 EL VERDE a i “City. LEON VALLEY District:

Agency: LEON VALLEY POLICE DEPARTMENT

 

Arresting Officer: 1176 VASQUEZ #552

 

 

Booking Officer:

Transfer Officer:

Entered By. 1220 Entered Date: 6/23/2018
Charge(s):

INTERFERENCE W/PUBLIC DUTIES

Statute: 38.15(a) Code: PC Penalty: MB
Charge Note:

RESIST ARREST SEARCH OR TRANSPORT

Statute: 38.03(a) Code: PC Penalty: MA
Charge Note:

FAILURE TO IDENTIFY

Statute: 38.02 Code: PC Penalty: MC

Charge Note:

Arrest Narrative:

 

 

 

 

[Arrest:
Arrest#: 201864036D Date Arrested: 6/23/2018 Time Arrested: 18:00 Cell No: Date Released:
Name: NGYUEN, BAO-QUOC TRAN Address: 644 KERY ST
Race: A Sex: M CROWLEY, TX 76036
DOB: an ArrestAge: 35 Home Phone: Work Phone:
Juvenile: N Current Age: 35 Mobile Phone: Caution:
DL : DL State: DL Type: Employer: Occupation:
Arrest Location: 6400 EL VERDE City: LEON VALLEY District:

Agency: LEON VALLEY POLICE DEPARTMENT

 

 

Arresting Officer: 1176 VASQUEZ #552

 

 

Booking Officer:

Transfer Officer:

Entered By: 1220 Entered Date: 6/23/2018
Charge(s):

OBSTRUCTION RETALIATION BY THREAT
Statute: 36.06 Code: PC Penalty: F3

Charge Note:

Arrest Narrative:

 

\Narrative:
AP1 - Nyguen, Bao-Quac

 

 

07/26/2018 17:21 6400 EL VERDE RD LEON VALLEY, TX 78238 Page 17 of 25
LEON VALLEY POLICE DEPARTMENT Incident #201804036

 

AP2 - Springer, James
AP3 - Pierce, Joseph
AP4 - Green, Jason
AP5 - Howd, Brian

SP1 - Green, jonathan
SP2 - Hernandez, Aldo
SP3 - Gardiner, Gregory
SP4 - Russell, Josh

On 23June2018 at 1730 hours, This officer was at the listed location during an anarchist demonstration which had escalated
over the past two weeks. Ap 7 and AP 2 were both in front of the Leon Valley Police dept protesting and both AP's were
streaming live the event in progress. During this live broadcast on YouTube channels C 's home address personal
identifying information and identifying information on C's family, names, addresses were listed. This act incited viewers to
make death threats against C and his family. Ap1 and Ap2 did nothing to delete or stop the personal identifying information
from being listed on the comments.

C1 stated himself and his family have come under death threat and physical harm and violence due to the publicly
broadcasted information of C’ and his family on the internet media platform YouTube. Information included their names and
addresses. The information was being posted by anarchist agitators in the chat group during live broadcast as well as
threats of stalking and causing physical violence.

This information was ultimately publicly broadcasted by AP1 and AP2 during their live streams and information left in the
chat on their respective pages to be viewed by anyone on the page without interference from them. This action placed C in
fear for his safety and life, as well as that of his family causing them to leave their home and find alternate housing since
initial threat observed. This act was committed by AP1 and AP2 for the retaliation of C1, as public servant as The Chief of
Police for the City of Leon Valley acting in his official capacity.

The posting of their addresses on YouTube by viewers of the live stream on, a publicly accessible site and channels
operated by AP1 and AP2 with active moderators to control information displayed. Effort was shown deleting comments
from viewers who are against their message or supporting police by the moderators as well as by AP1 and AP2 on their
respective pages(Channels). The posting of the messages brought on the threats of violence, serious bodily harm as well as
death.

No effort was made to moderate those offensive posts or personal information. AP? and AP2 belong to this anarchist
group of agitators who's sole purpose is to incite a confrontation with police and interrupt emergency 911 operations as the
agitators encourage viewers to flood the 911 call center with frivolous cails

AP2 had posted a video to YouTube social media platform for a "call to action.” This stemming from arrests on 18June2018,
an organized gathering set for 22June2018 at 1200hours. AP1 and AP2 continued live streams hosted by both are
monitored by both parties as seen during their broadcasts and the interaction with those typing on their respective channels.
AP1 and AP2 had known moderators in the chat to delete comments which were contrary to beliefs and statements or pro
law enforcement. Those names are seen in a different color font and a wrench next to the username during the chat.

The organized event was created to protest city government activity in the municipality. AP1, currently on Bond from
Crowiey, Tx and unemployed, he had rented a vehicle to travel to Leon Valley for the organized anti government/anti police
event. AP1 live streamed his travels and activity through YouTube Live Stream and uses for financial gains/donations from
viewers.

At time of arrest, | apprehended AP1 who was placed in handcuffs after the removal of his backpack and sign hanging from
his neck. He was informed he was being charged with PC36.06 Obstruction or Retaliation and taken into the Leon Valley
Municipal Building for identification and processing. AP1 identity was confirmed and shown clear of any warrants. His
Samsung Galaxy S8, Spigen Phone Case and Zeadio mounted on ZGrip equipment frame was taken as evidence related to
the offense.

AP2 was taken into custody by Off. Evans#556 for the offense of PC36.06 Obstruction or Retaliation for his YouTube

channel(James Freeman) which was used to live stream the address and names of C1, and his family.

AP3 had been placed under arrest by Off. J. Vasquez#552 for Interference with Public Servant Duties followed by a Citation
for Failure to Identify. Details of event noted in attached supplement report by J. Vasquez#552.

 

07/26/2018 17:21 6400 EL VERDE RD LEON VALLEY, TX 78238 Page 18 of 25
 

LEON VALLEY POLICE DEPARTMENT incident #201804636

 

AP4 was placed under arrest by Capt.R.Saucedo#543 for the offense of Interference with Public Servant Duties followed by
a Citation for Failure to identify. Details of event noted in attached supplement report by Capt.R. Saucedo#543.

APS was placed under arrest by Off.U.Hernandez#561 for Interference with Public Servant Duties and Resisting Arrest.
Details of event noted in attached supplement report by Off.U. Hernandez#561.

SP2 was contacted by Cpl.C.Carrillo#554 and identified. He provided information and allowing access to his cell phone to
show he was not participating in the gathering and was released once shown with no active warrants.

SP3 was contacted by Cpl.L.Farias#534 who seized equipment as items used to record evidence of a crime occurring. He
was released shortly after without incident.

SP4 was contacted by Off.U.Hernandez who had been attempting to retrieve recording devices as evidence. Off.R.Parra
assisted in detaining in handcuffs. SP4 was identified and released shortly after without infcident. Contact documented in
supplement reports from both officers.

The Leon Valley Police dept has been in contact with the Bexar County district Attorney's office and local FBI office in
regards to this anarchist agitator group.

The D.A's office is aware of these charges and arrest being made today.

 

Supplement: R. Parra 520 |

On 06/23/2018 at 17:15hrs, | assisted Officers in front of the Leon Valley Municiple Offices with multiple agitators that were
being arrested or detained for listed charges. All subjects at location were instructed to give up all recording devices since it
was used to record the arrest and going to be seized as evidence. | confiscated SP6's cell phone. | observed AP5 resisting
arrest/detention by Officer Hernandez by refusing to give up his recording his device in which it recorded a crime and by
pulling away his arms. | approached Officer Hernandez and assisted detaining AP5 with handcuffs behind the back. SP6's
ceil phone was placed into evidence.

Officer's Signature:

 

Date:

 

Supervisor's Signature:

 

Date:

 

 

‘Supplement: Hernandez |

On June 23, 2018 at approximately 1730 hrs., | was assigned to the Leon Valley Police Dept as security for the first
amendment auditors who were staging a protest. (AP5) Howd, B. had a black Canon camcord that was recording officers
arresiting AP2 and needed to be seized as evidence. | then walked towards AP5 and instructed him twice to hand over
the camera since it had recorded the event . AP5 then asked why and began to walk backwards . | then grabbed AP5 left
arm that was holding the camera and he pulled back and became stiff not allowing me to retrieve the camera. | then advised
APS that he was interfering with public duties. AP5 still continued to resist becoming stiff, LVPD Officer Parra #520 then
came to me for assistance by controlling AP5 right arm. Both arms were placed behind his back and was placed in
nandcuffs. AP5 camera was placed in evidence room. AP5 was charged for Interference with Public Duty and Resisting
arres/Detention. AP5 was then transported to 401S.Frio for booking.

The entire event was captured on my Coban body cam.

Officer's Signature:

 

Date:

 

Supervisor's Signature:

 

Date:

 

 

(Supplement: E-Rivera 567

On 06.23.2018 at about 1730 hours, | was advised by Chief Salvaggio to
provide property receipts to witnesses whose property was confiscated for

 

07/26/2018 17:21 6400 EL VERDE RD LEON VALLEY, TX 78238 Page 19 of 25
LEON VALLEY POLICE DEPARTMENT incident #201804036

 

evidence. At that time | provided property receipts to SP2 and SP4 and
placed confiscated property into property room. A white/ black GoPro Stick
was located outside in front of the City Council Chambers and was not
claimed, | placed property into property room as found.

Officer's Signature:

 

Date:

 

Supervisor's Signature:

 

Date:

 

 

‘Supplement: Col. L. Farias 534

On the above date and time, | assisted other officers in front of the Leon Valley Municipal offices with
several agitators that were being detained or arrested for the listed charges. All involved were
instructed to give up all recording devices and recordings, since it was used to record the arrest and
going to be seized as evidence.

 

SP3 was a witness to the listed crimes and was in possession of a Go Pro video camera attached to a
camera stick. Officer R. Parra approached SP3 and requested that SP3 hand over the Go Pro camera
as it was being seized for evidence. SP3 complied and Officer R. Parra placed it in the Patrol Room
for safe keeping.

SP3 also had an AR15 rifle slung on his side with a loaded magazine, but did not display it in an
alarming manner and was attached to-him in a manner that he would have quick access to it. Officer J.
Vasquez placed him in handcuffs for officer safety. At that point SP3 stated to me that he had a pistol in
his possession and had a current concealed handgun license.

SP3 was now detained, so | conducted an investigation of possible unlawful carrying. | retrieved from
SP3, a DTI AR15 5.56 rifle that had a PMAG magazine attached to it with ammo. The rifle had no
ammo chambered or in battery. From SP3's hip Officer J. Vasquez retrieved a Ruger P94 .40cal pistol
with a Ruger magazine with ammo and a round in the chamber. Officer J. Vasquez rendered the pistol
safe and gave me possession of it.

SP3 stated he also had a Go Pro camera taken from him and he identified Officer Parra as the officer
that seized it. | spoke with Officer Parra and retrieved the Go Pro camera as | took custody of it for
processing as evidence.

| verified that SP3 had an active concealed handgun carry license, so | issued SP3 a property receipt
indicating that he received his rifle, rifle magazine and ammo, his pistol, pistol magazine ammo. SP3
signed it and was given said property.

SP3 stated that he had no video recording of the above listed arrested individuals and stated he was
just recording himself for proof that he did not display his rifle in an alarming way.

SP3 was asked by Det. E. Gonzalez and Det. J. Wells, if he would give consent for the police to
retrieve the video on his Go Pro camera and SP3 declined. SP3 then was issued a property receipt for
his Go Pro camera with a battery, a UK Pro camera stick and a 32G SanDisk memory card that was
located inside the Go Pro camera. SP3 was advised the these items were being seized as evidence
and a search warrant would be obtained.

 

07/26/2018 17:24 6400 EL VERDE RD LEON VALLEY, TX 78238 Page 20 of 25
 

LEON VALLEY POLICE DEPARTMENT incident #201804036

 

SP3 was released at the scene and he left the location.

The items seized as evidence were place in evidence locker one.
Officer's Signature:

 

Date:

 

Supervisor's Signature:

 

hg

Date:

 

 

‘Supplement: Carrillo 554 |

On 06/23/18 at approximately 0530 hours, | arrived at Leon Valley Police Department to assist with a
large group of protesters. | made location Identified SP2. | was informed by Officer Rivera, she had a
property receipt for SP2's cell phone. SP2 then informed me he was not with the group but was at the
water store at 6526 Bandera when he over heard one of the protesters make the comment of C going
to have an interview with the protesters. SP2 stated he had been following some of the recordings on
the Internet from the protesters. SP2 decided to follow the protesters and see what was going to
happen. This is when he was taken into custody with the group and brought inside the Police
Department. SP2 stated he was not recording and would allow us to review his phone. | handed SP2 a
consent to search form. SP2 read and on his own free will signed consent form, and gave Detective
Brooks the code to unlock the phone. Detective Brooks checked the phone and found that SP2 did not
record any of the protest, SP2's phone contained no evidence and was released to leave with his
phone.

 

Officer's Signature:

 

Date:

 

Supervisor's Signature:

 

Date:

 

 

Supplement: Evans #556

On 06/23/2018 at approximately 1715 hours while at 6400 El Verde Rd (Leon Valley City Hall), | was
advised by C we would be executing an arrest on AP1 and AP2. The charge for AP1 and AP2 would be
Obstruction or Retaliation PC 36.06 due to AP1 and AP2 live streaming via YouTube, C's address
along with his wife's and daughter's information for the public to see. AP2 publicly live streamed to the
public C's address while knowing C is a public servant. AP2 was outside of the Leon Valley City Hall
along with approximately 15-20 individuals conducting a demonstration. There have been threats of
harm to C and his family ever since the information was posted on YouTube. My task was to
apprehend AP2 once outside. | exited the building through the City Council Chamber's entrance/exit on
the east wing of the building. | observed AP2 (who | have previously identified before) recording with
his phone on the sidewalk near the intersection of El Verde Rd and Bandera Rd. | approached AP2 and
advised him he was under arrest for Obstruction or Retaliation PC 36.06. AP2 was placed in hand cuffs
and escorted into the police station. While in the police station, | searched AP2, read him his Miranda
Warning, and placed him in a holding cell. Property obtained from AP2 was stored in Leon Valley
Police Department Property Room as evidence. AP2 was given a property receipt for the items taken
from him. AP2 was processed while at Leon Valley Police Department, then transported to 401 S. Frio
for booking on the charge of Obstruction or Retaliation.

 

items take from AP2 by me:

 

07/26/2018 17:21 6400 EL VERDE RD LEON VALLEY, TX 78238 Page 21 of 25
 

LEON VALLEY POLICE DEPARTMENT incident #201804036

 

1 Black Samsung Cell Phone S/N=RV8K30KCA8P

1 Small Black Tripod No Brand

1 Black "Blackweb" Box Charger S/N= BWA18W1051
1 White USB Cable Cord No Brand

Officer's Signature:

 

Date:

 

Supervisor's Signature:

 

Date:

 

 

[Supplement: VASQUEZ #552 |

On 06/23/2018 at approximately 1700 hours, C advised Leon Valley Patrol units will be
executing an arrest of AP1 for the offense of Obstruction or retaliation. C stepped
outside to the front of the Municipal court building, east wing, and contacted a large
group of over ten agitators/anarchist who were video recording with multiple video
recording devices (cell phones, tablets, cameras etc). The large group of agitators
/anarchists have been demonstrating over multiple days in front of the Municipal Court
building with the sole purpose of creating a confrontation with the Police Department and
government body. As C stepped.out of the building, the large group of
agitators/anarchists approached C and C immediately announced in a loud clear tone
that AP1 was under arrest. Leon Valley Officers took custody of AP1, C then proceed to
announce in a loud clear voice to all agitators/ anarchists that they are not free to leave
and advised the large group to surrender their recording devices due to them being a
witness to a crime. Patrol Officers began requesting video recording devices from
agitators /anarchists recording the event in the proximity. As a large group of
agitators/anarchists were detained, they were told to sit down along a brick wall to
collect items and provided property receipt. As | approached AP3 who was
approximately 30 feet away from me, | could see him holding a selfie stick with a black
phone or tablet attached to the end filming the event. He is known on YouTube as
"Ethics instead" and is known to video record encounters with Police with the sole
purpose to create hostile environments with the police. | commanded him in a loud clear
voice to "come here" and as he began to walk away | advised him again to come here,
now describing his clothing that he was wearing. As AP3 continued to walk away from
me while recording after having clear sight of me approaching him, | told him one last
time to "come here" and AP3 then stopped next to another agitator/anarchist continuing
to record me approaching him. As | approached AP3, | told him clearly "| need your
device." AP3 advised he didn't hear me so | told him again "I need your device." AP3
stated he didn't hear me again so | told him again "| need your device." AP3 Replied "I
don't want to give it to you." | then went hands on and attempted to grab his left wrist. At
this time, he pulled his left arm back to prevent apprehension. As | grabbed AP3, he
complied and was handcuffed. AP3 was wearing a black tank top shirt with a black back

 

 

07/26/2018 17:24 6400 EL VERDE RD LEON VALLEY, TX 78238 Page 22 of 25
 

LEON VALLEY POLICE DEPARTMENT incident #201804036

 

pack on his back while holding a selfie stick with a black Samsung Verizon Galaxy J7
cell phone attached. AP3 was given to Captain Saucedo and | went to assist Corporal
Farias to detain SP3 who was carrying a rifle slung to the front of his chest and a
holstered handgun on his right side. SP3 was detained by me and both weapons were
made safe, Corporal Farias then escorted male to the detainment area in front of the
Municipal building. | then observed O01 standing on the sidewalk near Bandera and El
Verde holding a cell phone to his face, also appearing to record the event taking place,
due to him being a witness to the crime, | asked him for his phone and as he questioned
why | detained him. He was then escorted to the detainment area in front of the
Municipal hall building. After taking male to the location | assisted Officer Griego in
identifying witnesses in the activity at 6526 Bandera, | contacted W1 and W2, due to W2
being a minor | also contacted mother O2. | then made location at 6400 El Verde and
assisted in confiscating video devices. | collected a Samsung Cell Phone J3 Luna from a
W4, property receipt provided and item given to E. Rivera, and a Motorola flip phone
from a W3, property receipt given and items transferred over to Officer Rivera. | re-
contacted AP3 in front of the council chambers and during property inventory | asked
him for his name.AP3 advised he is not going to provide me any information. | continued
to ask multiple times and he refused to provide his information. He was eventually
identified as listed AP3 in this report. Following items were confiscated from AP3:

selfie stick

knife

black wallet with 19.25

Samsung Verizon Galaxy J7
Black outdoor back pack

Silver USB cord

Black mouse

Small tripod

EECU debit card

Black tape

AC adapter white

Wall plug

Hyundai portable charging device
Camera digital box containing 3 attachments
16 GB san disk

 

07/26/2018 17:21 6400 EL VERDE RD LEON VALLEY, TX 78238 Page 23 of 25
 

LEON VALLEY POLICE DEPARTMENT incident #201804036

 

Charging outlet port for HP
Two USB cards

All items transferred over to E. Rivera

AP3 intentionally refused to provide his name, date of birth and address after he was
lawfully arrested, he is charged with Failure to identify, Citation issued: 163028

AP1, AP2, AP3, AP4, AP5

AP'S were given a criminal trespass warning and copy of all Leon Valley Facilities
thereof:

CITY OF LEON VALLEY MUNICIPAL COURT OFFICES AND POLICE DEPARTMENT
: 6400 EL VERDE RD

CITY OF LEON VALLEY FIRE DEPARTMENT : 6300 EL VERDE RD

CITY OF LEON VALLEY LIBRARY : 6425 EVERS RD

CITY OF LEON VALLEY COMMUNITY : 6427 EVERS RD

CITY OF LEON VALLEY CONFERENCE CENTER : 6421 EVERS RD

CITY OF LEON VALLEY PUBLIC WORKS : 6429 EVERS RD

CITY OF LEON VALLEY PARK : 6440 EVERS

ALL LOCATIONS ARE IN LEON VALLEY TX 78238

Officer's Signature:

 

Date:

 

Supervisor's Signature:

 

Date:

 

 

(Supplement: CID Supplement Brooks #521

06/23/18

 

| was called out on this date to assist LVPD officers with processing numerous subjects that had been arrested
at the Leon Valley Police Department. Upon arrival, | was contacted by Sgt Gonzales who requested | speak
with a subject who was a possible witness. | was directed to an individual identified as Aldo Alexandro
Hernandez. Hernandez was detained during the arrests mentioned earlier. He was in possession of a cellular
telephone that was believed may contain evidence regarding the arrests. Hernandez voluntarily signed a
Consent to Search allowing LVPD officers to search his phone. Hernandez voluntarily provided his passcode
and i examined the contents. | determined the phone did not contain any evidence and it was returned to
Hernandez. He left the scene once his phone was returned to him.

 

07/26/2018 17:21 6400 EL VERDE RD LEON VALLEY, TX 78238 Page 24 of 25
LEON VALLEY POLICE DEPARTMENT Incident #201804036

 

Inv T. Brooks #521

Officer's Signature:

 

Date:

 

Supervisor's Signature:

 

Date:

 

 

[Supplement: A.Griego 566 |

Once on scene | was directed by Capt Saucedo to detain individuals standing at the NE connor of the property. | detained
SP6 in handcuffs and sat him in the council chambers lobby.| then again went outside to assist officers. Chief Salvaggio
informed me that SP5 was a witness to the offense and advised me to identify her. | identified SP5 and seized her phone for
evidence. SP5 was issued a copy of property receipt by Officer Rivera. | handed SP5’s phone to Ofc Rivera for processing.
Chief Salvaggio also handed me a cell phone that he located on sidewalk and asked me to locate its owner. SP1, who was
already detained inside, stated that the cell phone found on the sidewalk belonged to him, | then issued SP1 a property
receipt for his cell phone which was seized as evidence. SP1's cell phone was handed to Ofc Rivera for processing. | then
returned to the council chambers lobby and identified SP6, SP6 was then given a property receipt for his cell phone by
Ofc.Parra who had seized his celiphone.

Officer's Signature:

 

Date:

 

Supervisor's Signature:

 

Date:

 

 

[Reporting Officer Signature:

Officer's Signature:

 

Date:

 

Supervisor's Signature:

 

Date:

 

 

07/26/2018 17:21 6400 EL VERDE RD LEON VALLEY, TX 78238 Page 25 of 25
